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                              UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF MICHIGAN
                                   SOUTHERN DIVISION

UNITED STATES OF AMERICA,

      Plaintiff,                                               No. 1:20-mj-416

v.

ADAM FOX, BARRY CROFT,
TY GARBIN, KALEB FRANKS,
DANIEL HARRIS AND
BRANDON CASERTA,

      Defendants.                                       MOTION & ORDER TO SEAL
__________________________________/

        Now comes the United States of America by Andrew Byerly Birge, United States

Attorney for the Western District of Michigan, and Nils R. Kessler, Assistant United States

Attorney, and moves this court to seal the Complaint in the above entitled case. The United

States seeks to avoid jeopardizing the investigation and avoid giving targets an opportunity to

flee or continue flight from prosecution, destroy or tamper with evidence, change patterns of

behavior, or notify confederates. It is requested that such sealing remain in force and operation

until further order of this court or arrest of defendants.

                                                        Respectfully submitted,

                                                        ANDREW BYERLY BIRGE
                                                        United States Attorney

Dated: October 6, 2020                                  ________________________________
                                                        NILS R. KESSLER
                                                        Assistant United States Attorney
                                                        P.O. Box 208
                                                        Grand Rapids, MI 49501-0208
                                                        (616) 456-2404
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      IT IS SO ORDERED.


        October 6, 2020
Dated: _______________                    /s/ Sally J. Berens
                                         ________________________________
                                         SALLY J. BERENS
                                         United States Magistrate Judge
                                         United States District Court
